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Honorable Robert 8. Lasnik

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

NEW YORK LIFE INSURANCE COMPANY, | No. 2:19-CV-00226

Plaintiff, PROPOSED] ORDER GRANTING
STIPULATED MOTION TO AMEND
vs. ORDER REGARDING INITIAL
DISCLOSURES, JOINT STATUS REPORT
BRANDON GUNWALL, JEFFREY E. AND EARLY SETTLEMENT

SWENSON and AMELIA M. BESOLA, as
Administratrix of the Estate of Mark Lester
Besola,

Defendants.

 

 

 

 

I. ORDER
This matter having come before the Court on the stipulation of the parties attached
hereto, the Court having reviewed the same, and the Court finding that the parties’ stipulated
motion to amend order regarding initial disclosures, joint status report and early settlement, it is
hereby ordered that the clerk issue a new order regarding initial disclosures, joint status report

and early settlement.

 

Dated this 2% day of 2019.
MES Qk
Honorable Robert S. Lasnik

[PROPOSED] ORDER GRANTING STIPULATED MOTION TO AMEND FORSBERG & U MEAP PS.
ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT OPN FIPRH NEA esUre 1400
AND EARLY SETTLEMENT -PAGE1

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Presented by:

DATED this 23" day of August, 2019

FORSBERG & UMLAUF, P:S.

By: s/ Alexandra E. Ormsby
Stephanie Andersen, WSBA No. 22250
Alexandra E. Ormsby, WSBA No. 52677
Attorneys for Plaintiff

Notice of presentation waived:

Dated this day of August, 2019

MORTON MCGOLDRICK, P.S.

 

Daniel Walk, WSBA No. 52017
Attorney for Defendant Gunwall

Dated this day of August, 2019

LAW OFFICES OF DESMOND D. KOLKE

 

Desmond Kolke, WSBA No. 23563
Attorney for Defendant Besola _

Dated this day of August, 2019

JEFFREY SWENSON

 

Pro Se Defendant

[PROPOSED] ORDER GRANTING STIPULATED MOTION TO AMEND
ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT

AND EARLY SETTLEMENT — PAGE 2

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Case 2:19-cv-00226-RSL Document 31-1 Filed 08/23/19 Page 3 of 3

Presented by:

DATED this day of August, 2019
FORSBERG & UMLAUF, PS.

By:
Stephanie Andersen, WSBA No. 22250

Alexandra E. Ormsby, WSBA No. 52677
Attorneys for Plaintiff

 

Notice of presentation waived:
Dated this day of August, 2019

MORTON MCGOLDRICK, P.S.

  

 

Dani¢d| Walk, WSBA No. 52017
Aftérney for Defendant Gunwall

Dated this 7 day of August, 2019
LAW OFFICES OF DESMOND D. KOLKE

Desmond Kolke, WSBA No. 23563
Attorney for Defendant Besola

Dated this 23 day of August, 2019

JEFFREY SWENSON

Defigace

Pro Se Defendant

[PROPOSED] ORDER GRANTING STIPULATED MOTION TO AMEND
ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT
AND EARLY SETTLEMENT — PAGE 2

CAUSE NO. 2:19-CV¥-00226
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